Case 1:25-cv-00397-RCL Document5 Filed 03/18/25 Page1of1

AO 85 (Rev. 02/17) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge

UNITED STATES DISTRICT COURT

for the
District of Columbia
FATEMEH KARAMYAR )
Plaintiff )
v. ) Civil Action No. — 1:25-cv-00397-RCL
MARCO RUBIO, et al. )
Defendant )

NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct
all proceedings in this civil action (including a jury or nonjury trial) and to order the entry ofa final judgment. The judgment
may then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge
may exercise this authority only if all parties voluntarily consent.

You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.

Consent to a magistrate judge’s authority. The following patties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

Printed names of parties and attorneys Signatures of parties or attorneys Dates
FATEMEH KARAMYAR BY CURTIS LEE /s/ Curtis Lee Morrison 03/04/2025
MORRISON —
MARCO RUBIO, KENNETH PLATEK BY /s/ Brian P. Hudak 03/04/2025

BRIAN P. HUDAK

Reference Order

IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.

Date: hgh ns a fel

District Judge's signature

Tlogce C Lave beset, h1$. 4.9.

Printed name and title

Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
magistrate judge. Do not return this form to a judge.
